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                  Exhibit 1
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Reg. No. 5,019,808          Volkswagen Aktiengesellschaft (GERMANY JOINT STOCK COMPANY)
                            Berliner Ring 2
Registered Aug. 16, 2016    38440 Wolfsburg
                            FED REP GERMANY
Int. Cl.: 11                CLASS 11: Apparatus for lighting, heating, steam generating, cooking, refrigerating, drying,
                            ventilating, water supply and sanitary purposes, namely, pocket flashlights; gas igniters for
Trademark                   gas ovens; chimney flues and installations for conveying exhaust gases, namely, exhaust
                            hoods for kitchens, ventilating exhaust fans; sun tanning appliances, namely, tanning beds,
Principal Register          tanning booths; sanitary installations, namely, steam rooms; water supply and sanitation
                            equipment, namely, urinals, metered valves; oil and gas burners for industrial, commercial
                            and domestic use; heating boilers; lighting reflectors; food and beverage cooking, heating,
                            cooling and treatment equipment, namely, refrigerators, microwave ovens, electric cooking
                            ovens; fireplaces; air and water filters for industrial and household use; industrial treatment
                            installations, namely, gas cleaners and purifiers; chemical processing equipment, namely,
                            distillers, evaporators and recuperators; industrial installations for filtering liquids, namely,
                            water filtering apparatus; installations for the collection of gases, namely, gas scrubbers,
                            separators for the cleaning and purification of gases; installations for the collection of liquids,
                            namely, marine sewage holding tanks; launders for trapping impurities in molten metal;
                            biological fermentation reactors for clarifying industrial effluents, namely, percolating
                            fermenters and dry fermenters; apparatus for dehydrating food waste; drying installations,
                            namely, clothes drying machines, drying apparatus for use in heating, ventilation systems, air
                            conditioning systems and refrigeration systems; refrigerating and freezing machines;
                            regulating and safety accessories for water and gas installations, namely, pressure regulators;
                            nuclear installations, namely, nuclear reactors, nuclear generators; ambient heating,
                            ventilating and air conditioning and purification equipment, namely, electric space heaters,
                            air conditioners; lighting apparatus, namely, lighting installations; lamps; light-emitting
                            diodes (LED) lighting apparatus for vehicles; lighting installations for air vehicles; lighting
                            apparatus for vehicles; light bulbs for directional signals for vehicles; anti-glare devices
                            specially adapted for lights for vehicles; anti-dazzle devices specially adapted for lights for
                            automobiles; electric torches for lighting; arc lamps; electric coffee machines; electric fans
                            for personal use; electric discharge tubes for lighting; bicycle lights; vehicle lights and
                            structural parts therefor; vehicle reflectors and structural parts therefor; vehicle headlights,
                            and structural parts therefor; sockets for electric lights; friction lighters for igniting gas; light
                            bulbs; electric light bulbs; incandescent burners for lamps; filaments for electric lamps;
                            miners' lamps; space heating apparatus for solid, liquid or gaseous fuels; electric heating
                            apparatus, namely, electric space heaters, electric heaters for babies' bottles ; heating
                            installations; heaters for vehicles; air conditioning installations; air conditioning apparatus;
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                     refrigerators; air conditioners for vehicles; electric lamps; gas lamps; lamp glasses; lamp
                     mantles; lamp globes; lamp chimneys; lamp shades; lampshade holders; luminous tubes for
                     lighting; discharge tubes, electric, for lighting; light diffusers; space heating apparatus,
                     namely, air reheaters; filters for air conditioning; air filtering installations; deodorising
                     apparatus, not for personal use, namely, electric air deodorizers; defrosters for vehicles;
                     vehicle climate-control system for ventilation and air-conditioning; heating apparatus for
                     defrosting windows of vehicles; air cooling apparatus; air purifying apparatus and machines;
                     germicidal lamps for purifying air; spa baths in the nature of heated pools; air sterilizers; air
                     driers, namely, dryers for the removal of water vapor from compressed air, portable electric
                     warm air dryers, dehumidifiers; air-conditioning and ventilation instruments and apparatus;
                     lamp reflectors; safety lamps; solar collectors for heating; pocket torches, electric, for
                     lighting; ultraviolet ray lamps, not for medical purposes; solar energy water heaters;
                     radiators, electric

                     THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                     PARTICULAR FONT STYLE, SIZE OR COLOR

                     PRIORITY DATE OF 10-14-2014 IS CLAIMED

                     OWNER OF INTERNATIONAL REGISTRATION 1272004 DATED 11-13-2014,
                     EXPIRES 11-13-2024

                     SER. NO. 79-175,652, FILED 11-13-2014

                     ANDREW C LEASER, EXAMINING ATTORNEY




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